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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-0684V
                                        UNPUBLISHED


    NATHAN MATHEWS,                                         Chief Special Master Corcoran

                        Petitioner,                         Filed: July 14, 2022
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Jessi Carin Huff, Maglio Christopher & Toale, PA, Seattle, WA, for Petitioner.

Jamica Marie Littles, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

        On January 12, 2021, Nathan Mathews filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered a left shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza vaccine received on October 21,
2019. Petition at 1, 3. Petitioner further alleges the vaccine was administered in the United
States, his injuries have lasted more than six months, and neither Petitioner, nor any other
party, has ever brought an action or received compensation for his vaccine-related
injuries. Petition at ¶¶ 17, 19-20; Ex. 1. The case was assigned to the Special Processing
Unit of the Office of Special Masters.



1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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       On July 14, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent agrees that “petitioner had no history of pain, inflammation, or
dysfunction in his left shoulder before his October 2019 intramuscular vaccine
administration; his symptoms were limited to the left shoulder in which the intramuscular
vaccine was administered; he more likely than not suffered the onset of pain within forty-
eight hours of vaccine administration; and there is no other condition or abnormality that
would explain petitioner’s symptoms.” Id. at 6. Respondent further agrees that “the
records show that the case was timely filed, that the vaccine was received in the United
States, and that petitioner satisfies the statutory severity requirement by suffering the
residual effects or complications of his injury for more than six months after vaccine
administration.” Id. at 7. Respondent also notes that Petitioner avers that neither he, nor
anyone on his behalf, has received compensation or brought an action for his vaccine-
related injuries. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                       s/Brian H. Corcoran
                                                       Brian H. Corcoran
                                                       Chief Special Master




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